 Case 2:22-cv-12355-TGB-DRG ECF No. 1, PageID.1 Filed 10/04/22 Page 1 of 33




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

VILLAGE GRILL CONEY
ISLAND, INC. a Michigan
Corporation, DJELA and LESH
SHKRELI, Individually and                Case No: 2:22-cv-12355
MUKADEZ KADIU, an Individual,

             Plaintiffs,

v

PRIME ONE INSURANCE
GROUP, a Utah Corporation,

             Defendant.
                                                                               /

KEITH C. JABLONSKI (P62111)          KURT D. MEYER (P38205)
MASSIMO F. BADALAMENTI               GREGORY, MEYER & CHAPNICK,
(P83847)                             P.C.
O'REILLY RANCILIO P.C.               Attorneys for Defendant
Attorneys for Plaintiffs             340 E. Big Beaver Road, Ste. 520
12900 Hall Road, Suite 350           Troy, MI 48083
Sterling Heights, MI 48313           (248) 689-3920/(248) 689-4560 – Fax
(586) 726-1000 /Fax: (586) 726-      kmeyer@gregorylaw.com
1560
kjablonski@orlaw.com
mbadalamenti@orlaw.com
                                                                               /

                           NOTICE OF REMOVAL

      NOW COMES Defendant, PrimeOne Insurance Company, erroneously

identified as Prime One Insurance Group (“PrimeOne”), and pursuant to 28 U.S.C.A

§§ 1441, 1446 and E.D. Mich. LR 81.1, hereby files this Notice of Removal of a
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cause of action filed in the 3rd Judicial Circuit Court (Wayne County Circuit Court)

of the State of Michigan entitled, Village Grill Coney Island Inc., a Michigan

Corporation, Djela and Lesh Shkreli, Individually and Mukadez Kadiu, an

Individual v. PrimeOne Insurance Group, Case No. 2022-009121-CK, and states:

      1.     This action was commenced in the 3rd Circuit Court, Wayne County,

Michigan on August 1, 2022, and Defendant first received the initial pleading setting

forth the claim for relief upon which the action is based on September 6, 2022.

      2.     The action is a civil action stated in five counts entitled: Breach of

Contract as to Plaintiff Kadiu, Breach of Contract Implied In Fact and Law as to

Plaintiffs Shkreli, Third Party Beneficiary as to Plaintiffs Shklreli, Unjust

Enrichment, and Declaratory Judgement and pursuant to 28 U.S.C. §1441, 28

U.S.C.A §1332(a)(1) and Rule 81 of the Federal Rules of Civil Procedure, this Court

has original jurisdiction over the matter.

      3.     There exists complete diversity of citizenship of the parties. Plaintiff,

Village Grill Coney Island Inc., is a Michigan Corporation, with its principal place

of business in Wayne County, Michigan (Complaint ¶1). Plaintiffs Shklrelis are

residents of Genesee County, Michigan (Complaint ¶2) while Plaintiff Kadiu is a

resident of Wayne County, Michigan (Complaint ¶3). Defendant PrimeOne

Insurance Company is incorporated in the State of Utah with its principal place of

business in Salt Lake City, Utah.



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      4.     The amount in controversy is in excess of $75,000.00 (Complaint ¶19).

      5.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1332

because this is a civil action in which the amounts in controversy exceeds the sum

of $75,000.00, exclusive of costs and interests; Plaintiffs are all citizens of the State

of Michigan and maintain their principle place of business or reside within

Michigan, while Defendant is incorporated and has its principle place of business in

Salt Lake City, Utah.

      6.     No previous application has been made for the relief requested herein.

      7.     A copy of all process, pleadings, and orders served upon Defendant as

well as a Proof of Service of written notice of this Notice of Removal to all adverse

parties and a copy of same being filed with the clerk of the State court is being filed

with this notice as required by 28 USC §1446(a) and (d).

      8.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is

being served upon counsel for the Plaintiffs, and a copy is also being filed with the

Clerk of the Circuit Court for the County of Wayne, State of Michigan.

      9.     Defendant has not filed a response to Plaintiffs’ Complaint in state court

and will file its response in accordance with FRCP 81 (2) (c).

      WHEREFORE, Defendant respectfully requests that this action be removed

from the State of Michigan, Circuit Court for the County of Wayne, to the United

States District Court for the Eastern District of Michigan, and that this Court assume



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jurisdiction of this action and make such further orders as may be required to

properly determine this controversy.

                                        Respectfully submitted,

                                        By: /s/ Kurt D. Meyer
                                            KURT D. MEYER
                                            GREGORY, MEYER &
                                            CHAPNICK, P.C.
                                            Attorneys for Defendant
                                            340 E. Big Beaver Road, Ste. 520
                                            Troy, MI 48083
                                            (248) 689-3920/(248) 689-4560 -Fax
                                            kmeyer@gregorylaw.com
Dated: October 4, 2022                      P38205


                         CERTIFICATE OF SERVICE

      I hereby certify that on October 4, 2022, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system and I hereby certify that I

have emailed and mailed by United States Postal Service the paper to the following

non-ECF participants:

KEITH C. JABLONSKI                           Wayne County Circuit Court – by
MASSIMO F. BADALAMENTI                       Efiling through the Court’s
O'REILLY RANCILIO P.C.                       MiFile/TrueFiling system on October
12900 Hall Road, Suite 350                   4, 2022
Sterling Heights, MI 48313
kjablonski@orlaw.com
mbadalamenti@orlaw.com




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                                    By: /s/ Kurt D. Meyer
                                        KURT D. MEYER (P38205)
                                        GREGORY, MEYER &
                                        CHAPNICK, P.C.
                                        Attorneys for Defendant
                                        340 E. Big Beaver Road, Ste. 520
                                        Troy, MI 48083
                                        (248) 689-3920/(248) 689-4560 -Fax
                                        kmeyer@gregorylaw.com




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Approved, SCAO                                              Original - Court                        2nd Copy - Plaintiff
                                                            1st Copy- Defendant                     3rd Copy -Return

           STATE OF MICHIGAN                                                                                                 CASE NO.
          THIRD JUDICIAL CIRCUIT                                       SUMMONS                                             22-009121-CK
              WAYNE COUNTY                                                                                     Hon.Kathleen M. McCarthy
Court address: 2 Woodward Ave., Detroit Ml 48226                                                                           Court telephone no.: 313-224-5481
                              -
• Plaintiff's name(s), address(es), and telephone no(s)                                   Defendant's name(s), address(es), and telephone no(s).
  Village Grill Coney Island Inc           et. Al                           V             Prime One Insurance Group

 Plaintiff's attorney, bar no., address, and telephone no

. Keith C. Jablonski 62111
  12900 Hall Rd Ste 350
. Sterling Heights, Ml 48313-1174

Instructions: Check the items below that apply to you and provide any required information. Submit this form to the court clerk along with
your complaint and, if necessary, a case inventory addendum (form MC 21 ). The summons section will be completed by the court clerk.

  Domestic Relations Case
  D There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or family
     members of the person(s) who are the subject of the complaint.
  D There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
     family members of the person(s) who are the subject of the complaint. I have separately filed a completed confidential case inventory
    (form MC 21) listing those cases.
  D It is unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family
     or family members of the person(s) who are the subject of the complaint.

  Civil Case
  [I This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035
  D MD HHS and a contracted health plan may have a right to recover expenses in this case. I certify that notice and a copy of the
     complaint will be provided to MD HHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).
  D There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint.
  D A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

      been previously filed in    D this court, □---------------------- Court,
     where it was given case number _ _ _ _ _ _ _ _ and assigned to Judge _ _ _ _ _ _ __

     The action   D   remains     D   is no longer pending.


   Summons section completed by court clerk.                            SUMMONS

NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
1. You are being sued.
2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and serve a
    copy on the other party or take other lawful action with the court (28 days if you were served by mail or you were served outside
     this state).
3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded in the
   complaint.
4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to help
    you fully participate in court proceedings, please contact the court immediately to make arrangements.

  Issue date                                                Expiration date*                         Court clerk
· 8/1/2022                                                  10/31/2022                               John Flanagan

                                                                                                              Cathy M. Garrett- Wayne County Clerk.
*This summons is invalid unless served on or before its expiration date. This document must be sealed by the seal of the court.

                                  SUMMONS                                   MCR 1.109(D), MCR 2.102(8), MCR 2.103, MCR 2.104, MCR 2.105
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u..                                       STATE OF MICHIGAN
 C                                IN THE WAYNE COUNTY CIRCUIT COURT
.c
...,0     VILLAGE GRILL CONEY ISLAND INC. a
          Michigan Corporation, DJELA and LESH SHKRELI,
~
CL        Individually and MUKADEZ KADIU, an Individual
t--.
N                Plaintiffs,                                                    Case No. 22- 009121   -CK
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co
          PRIME ONE INSURANCE GROUP, a Utah
          Corporation
~
0:::             Defendant.
LU
.....J    - - - - - - - - - - - - - -I
0         O'REILLY RANCILIO P.C.
          Keith C. Jablonski (P621 l 1)
~         Massimo F. Badalamenti (P83847)
z
:::>      Attorneys for Plaintiff
0         12900 Hall Road, Suite 350
0         Sterling Heights, MI 48313
LU        (586) 726-1000 /Fax: (586) 726-1560
z
~
          kjablonski@orlaw.com
s         ______________/
:i:::
 Q)
 t:                                                COMPLAINT
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(!)
           There is no pending or resolved civil action arising out of the same transaction or occurrence as
~                                             alleged in this Complaint.
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....,
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0                                               Keith C. Jablonski (P621 l I)

LU
0                NOW COME Plaintiffs, Village Grill Coney Island Inc., Djela and Lesh Shkreli and
u..
u..       Mukadez Kadiu, by their counsel, O'Reilly Rancilio P.C., and for their Complaint against Prime
0
>-
~         One Insurance Group, state as follows:
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                                         PARTIES AND JURISDICTION
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LU
.....J           1.      Plaintiff Village Grill Coney Island Inc., is a Michigan Corporation, with its
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~         registered address located in Wayne County, Michigan.
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        2.      Plaintiffs Shkreli are individuals residing in Genesee County, Michigan.

        3.      PlaintiffKadiu is an individual residing in Wayne County.

        4.      Defendant, Prime One Insurance, is a Utah Corporation, conducting business in

 Michigan at 33150 Schoolcraft Rd., Suite 209, Livonia, MI 48150.

        5.      Jurisdiction is proper in this Court as the amount in controversy exceeds

 $25,000.00, exclusive of interest, costs, and attorney fees.

        6.      Venue is proper in this Court as the Defendant conducts business in Wayne

 County, Michigan and the events giving rise to the below referenced claims occurred in Wayne

 County, Michigan.

                                   GENERAL ALLEGATIONS

        7.      Plaintiff restate and reallege each allegation contained within this Complaint.

        8.      Plaintiffs Shkreli and Plaintiff, Mukadez Kadiu, executed a contract entitled

 Business Property Lease, dated March 18, 2012 ("Contract"). (Exhibit A).

        9.      The Contract was executed in conjunction with the lease of real property and

 improvements located at 27545 Plymouth Road, Livonia, MI 48150 ("the Property") and the

 transfer of possession and control of restaurant equipment located at the Property.

         10.    After execution of the Contract, Plaintiff Kadiu opened a restaurant at the

 Property and operated the business through and assigned to Village Grill.

         11.    Pursuant to the Contract, Plaintiff Kadiu agreed to rent the Property from

 Plaintiffs according to the terms set forth in Section 3, page 1 of the Contract.

         12.    Plaintiff Kadiu was further responsible for maintaining the Property in accordance

 with Section 9 of the Contract.




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        13.       According to Section 3, paragraph B of the Contract, Kadiu was required to

 purchase liability, fire, and property damage insurance, with Plaintiffs to be listed as additional

 named insureds on the policy.

        14.       Plaintiff Kadiu, through Village Grill as Lessee of the Property, purchased fire

 loss coverage from Defendant.

        15.       The Policy provided coverage up to $350,000 for the building, $270,000 for

 business personal property, and $120,000 for business earnings.

        16.       On or about August 2, 2020, a fire occurred at the Property, which caused loss to

 both the building and the contents within, prompting a claim with Defendant by Village Grill.

        17.       On October 27, 2022, December 18, 2020, and March 11, 2021 Defendant sent a

 Rejection of Sworn Statement in Proof of Loss.

        18.       On November 2, 2020, Defendant sent Ms. Kadiu a check in the amount of

 $20,000, representing an advance on the Business Personal Property aspect of her claim.

        19.       On or about May 24, 2021, Kadiu & Village Grill, through Michigan Fire Claims,

 Inc., submitted to Defendant a Sworn Statement in Proof of Loss, claiming $669,397.62.

 Specifically, the losses included $410,808.84 for the building, $179,687.21 for business personal

 property, and $148,803.75 for business earnings.

        20.       On August 9, 2021, Defendant sent a Coverage Detennination letter to Plaintiff

 Kadiu, enclosing checks as follows:

              •   $11,061.00 made payable to Village Grill Coney Island Inc., Michigan Fire

                  Claims, Inc. and Fabian, Sklar, King & Liss, P.C., representing a proposed

                  settlement of the Earnings (Business Income loss) aspect of Kadiu' s claim.




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               •   $7,500.00 made payable to Djela Shkreli, Lesh Shkreli, Mukadez Kadiu,

                   Michigan Fire Claims, Inc. and Fabian, Sklar, King & Liss, P.C., representing a

                   proposed settlement, subject to the policy limit, of the Personal Property of Others

                   aspect of Kadiu's claim.

               •   $37,582.30 made payable to Village Grill Coney Island Inc., Djela Shkreli, Lesh

                   Shkreli, Mukadez Kadiu, Michigan Fire Claims, Inc. and Fabian, Sklar, King &

                   Liss, P.C, for the actual cash value of the Business Personal Property for which

                   Village Grill had a financial interest.

         21.       On April 7, 2021, Plaintiffs filed a lawsuit against Plaintiff Kadiu and Village

   Grill, alleging breach of contract for failing to pay rent on the Property, failing to pay for the

   personal property sold under the Contract, and failing to apply insurance proceeds in accordance

   with the Contract.

         22.       Plaintiffs' lawsuit against Kadiu and Village Grill was ultimately settled.

         23.       Plaintiffs agreed to seek from Defendant building insurance proceeds, business

   personal property proceeds, and business earnings due under the policy of insurance issued by

   Defendant.

         24.       Pursuant to the Contract between Plaintiffs and Kadiu, and the policy of insurance

  issued to Kadiu and Village Grill, Plaintiffs have an insurable interest in the Property.

         25.       Based upon Plaintiffs insurable interest, Plaintiffs have a right to bring the

   present lawsuit against Defendant to recover insurance proceeds under the policy of insurance

   issued to Kadiu and Village Grill, less payment already made to the same.

         26.       Defendant has refused to issue sufficient payments to cover the losses from the

   fire according to the policy of insurance.



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                   COUNT I - BREACH OF CONTRACT AS TO PLAINTIFF KADIU

            27.      Plaintiff restate and reallege each allegation contained within this Complaint.

            28.      Plaintiff Kadiu entered into a Contract with Plaintiffs Shkreli wherein Shkreli

  leased the real property located at 27545 Plymouth Road, Livonia, MI 48150 ("the Property")

  and transfer possession and control of certain restaurant equipment located at the Property to

  Plaintiff Kadiu.

            29.      According to the Contract, Plaintiff Kadiu was required to purchase liability fire

  and property damage insurance with Plaintiffs as additional named insureds on the policy.

            30.      Kadiu did purchase liability fire and property damage insurance from Defendant

  and the same was in effect on August 2, 2020.

            31.      Plaintiff Kadiu paid $3,635.00 in premiums to Defendant.

            32.      On August 2, 2020, a fire occurred at the Property, causing substantial damage

  and loss to the building, business personal property, and business income.

            33.      Plaintiff Kadiu made a claim with Defendant for $726,610.62 and provided

  detailed descriptions of items and income lost.

            34.      Defendant paid a total of $48,643.00 to Kadiu and Plaintiffs for business personal

  property and business income losses, and $7,500.00 to Plaintiffs Shkreli for personal property of

  others.

            35.      Pursuant to the policy of insurance, Plaintiffs Kadiu and Village Grill were

  covered for the building, business personal property, and business income for up to $740,000.00.

            36.      Defendant has breached the Contract for insurance by failing and/or refusing to

  make payments to Plaintiff Kadiu up to the policy limits.

            3 7.     As a direct and proximate result of Defendant's substantial and material breach of



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  the Contract, Plaintiffs have suffered substantial economic damages and loss in excess of

  $25,000.00 including, but not limited to, the damages to the Property, the loss of business

  income, expert fees, attorney fees and other costs.

         WHEREFORE, Plaintiff Kadiu requests that this Court enter judgment against Defendant

  in an amount to be determined in excess of $25,000.00, together with interest, costs, and attorney

  fees, in addition to such further relief as this Court deems just and appropriate.

       COUNT II - BREACH OF CONTRACT IMPLIED IN FACT AND LAW AS TO
                            PLAINTIFFS SHKRELI

         38.     Plaintiffs Shkreli restate and reallege each allegation contained within this

  Complaint.

         39.     A contract implied in fact arises "where the parties do not explicitly manifest their

  intent to contract by words, their intent may be gathered by implication from their conduct,

  language, and other circumstances attending the transaction." Temborius v Slatkin, 157 Mich

  App 587; 403 NW2d 821,826 (1986).

         40.     A contract implied in law is not a contract at all but an obligation imposed by law

  to do justice even though it is clear that no promise was ever made or intended. A contract may

  be implied in law where there is a receipt of a benefit by a defendant from a plaintiff and

  retention of the benefit is inequitable, absent reasonable compensation. Matter of Est. of Lewis,

  168 Mich App 70; 423 NW2d 600 (1988).

         41.     On May 24, 2021, Michigan Fire Claims, Inc. submitted to Defendant, on behalf

  of Plaintiff Kadiu and Village Grill, a Sworn Statement in Proof of Loss.

         42.     The Sworn Statement in Proof of Loss stated, "Loss, if any, payable to Village

  Grill Coney Inc, DBA Livonia Grill Family Dining, Michigan Fire Claims, Inc, Djela & Lesh

  Shkreli &Fabian, Sklar, King & Liss, P.C."


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         43.     The Sworn Statement in Proof of Loss gave Defendant notice of Plaintiffs

  Shkrelis' insurable interest in the Property.

         44.     Plaintiffs Shkreli leased the Property to Plaintiffs Kadiu and Village Grill and

  required, under the contract, that she purchase liability fire and property damage insurance.

  Plaintiffs Kadiu and Village Grill purchased the requisite insurance and paid her insurance

  premiums.

         45.     Following a fire at the Property, Plaintiff Kadiu made a claim with Defendant for

  $726,610.62, less than the applicable policy limits.

         46.     Defendant made payment to PlaintiffKadiu and Plaintiff Shkreli in the amount of

  $56,143.30.

         4 7.    In making payment to Plaintiffs Shkreli, Defendant has demonstrated that while it

  did not have an express contract with them, it intended for them to benefit from the policy of

  insurance as the owner of the Property.

         48.     Defendant has breached the contract implied in law and fact with Plaintiffs

  Shkreli by failing and/or refusing to issue payment in the full policy amount to Plaintiffs Shkreli.

         49.     Defendant's retention of the premium paid by Plaintiff Kadiu, as required by

  Plaintiff Kadiu's Contract with Plaintiffs Shkreli, would be unjust and inequitable, absent

  reasonable compensation under the policy of insurance.

         WHEREFORE, Plaintiffs Shkreli request that this Court enter judgment against

  Defendant in an amount to be determined in excess of $25,000.00, together with interest, costs,

  and attorney fees, in addition to such further relief as this Court deems just and appropriate.




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       COUNT III -THIRD PARTY BENEFICIARY AS TO PLAINTIFFS SHKRELI

         50.     Plaintiff Shkreli restate and reallege each allegation contained within this

  Complaint.

         51.     MCL 600.1405 states, "Any person for whose benefit a promise is made by way

  of contract, as hereinafter defined, has the same right to enforce said promise that he would have

  had if the said promise had been made directly to him as the promisee."

         52.     Plaintiffs Shkreli leased the Property to Plaintiff Kadiu and required, under the

  lease, that she purchase liability, fire and property damage insurance. Plaintiff Kadiu purchased

  the requisite insurance and paid her insurance premiums.

         53.     Following a fire at the Property, Plaintiff Kadiu made a claim with Defendant for

  $726,610.62, lower than the policy limit.

         54.     On May 24, 2021, Michigan Fire Claims, Inc., submitted to Defendant, on behalf

  of Plaintiff Kadiu and Village Grill, a Sworn Statement in Proof of Loss.

         55.     The Sworn Statement in Proof of Loss stated, "Loss, if any, payable to Village

  Grill Coney Inc, DBA Livonia Grill Family Dining, Michigan Fire Claims, Inc, Djela & Lesh

  Shkreli &Fabian, Sklar, King & Liss, P.C."

         56.     The Sworn Statement in Proof of Loss gave Defendant notice of Plaintiffs

  Shkrelis' insurable interest in the Property.

         57.     Defendant did make payment to Plaintiff Kadiu and Plaintiff Shkreli m the

  amount of $56,143.30.

         58.     As the owner of the property, Plaintiffs Shkreli were direct, third party

  beneficiaries to Plaintiff Kadiu' s policy of insurance with Defendant.




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         59.     As stated in the Sworn Statement in Proof of Loss, and demonstrated through

  Defendant's payment of $7,500 directly to Plaintiffs Shkreli, Defendant was aware that Plaintiffs

  Shkreli directly benefited from the policy of insurance.

         60.     As a third party beneficiary, Plaintiffs Shkreli are entitled to payment up to the

  full amount of the policy limits.

         61.     Defendant has breached the contract with Plaintiff Kadiu by failing and/or

  refusing to issue payment in the full policy amount. Said failure and/or refusal has directly

  damaged Plaintiffs Shkreli.

         WHEREFORE, Plaintiffs Shkreli request that this Court enter judgment against

  Defendant in an amount to be determined in excess of $25,000.00, together with interest, costs,

  and attorney fees, in addition to such further relief as this Court deems just and appropriate.

                                COUNT IV - UNJUST ENRICHMENT

         62.     Plaintiffs restate and reallege each allegation contained within this Complaint.

         63.     Pursuant to Plaintiff Kadiu's Contract with Plaintiffs Shkreli, Kadiu was required

  to purchase liability, fire and property damage insurance.

         64.     Kadiu purchased liability, fire and property damage insurance from Defendant

  and paid a premium of $3,635.00.

         65.     Defendant received said premium and failed and/or refused to issue payment for

  fire loss according to the policy of insurance.

         66.     It would be inequitable to allow the Defendant to retain and use the funds paid by

  Plaintiff Kadiu.

         67.     Plaintiffs have been damaged on account of Defendant's unjust enrichment.




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         WHEREFORE, Plaintiffs request that this Court enter judgment against Defendant in an

  amount to be determined in excess of $25,000.00, together with interest, costs, and attorney fees,

  in addition to such further relief as this Court deems just and appropriate.

                           COUNT V - DECLARATORY JUDGMENT

         68.     Plaintiffs restate and reallege each allegation contained within this Complaint.

         69.     PlaintiffKadiu purchased from Defendant liability fire and property damage

  insurance from Defendant and paid a premium of $3,635.00.

         70.     The policy of insurance provided coverage for building loss, business personal

  property, and business income totaling $740,000.00.

         71.     Plaintiff Kadiu made a claim with Defendant for $726,610.62 following a fire

  causing damage to the building, personal property of the business, and loss of business income.

         72.     Plaintiff Kadiu, through Michigan Fire Claims, Inc, submitted a detailed

  itemization of the loss that occurred as a result of the fire, which amounted to $726,610.62.

         73.     Defendant has paid only $56,143.30 for the loss that occurred at the Property, and

  Plaintiffs have disputed the sufficiency, of those payments to cover the losses.

         74.     Pursuant to MCR 2.605, Plaintiffs Shkreli and Kadiu seek a declaration by this

  Honorable Court as to the remaining amount of the insurance policy.

         WHEREFORE, Plaintiff requests that this Court enter judgment against Defendant in an

  amount to be determined in excess of $25,000.00, together with interest, costs, and attorney fees,

  in addition to such further relief as this Court deems just and appropriate.
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                                   O'REILLY RANCILIO P.C.



                                   By: Isl Keith C. Jablonski
                                          Keith C. Jablonski (P62 l l 1)
                                          Massimo F. Badalamenti (P83847)
                                          Attorneys for Plaintiffs
                                           12900 Hall Road, Suite 350
                                           Sterling Heights, Ml 48313
                                          (586)726-1000/Fax: (586)726-1560
  Dated: August 1, 2022                   kjablonski@orlaw.com




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                        EXHIBIT A
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                               BUSINESS PROPERTY LEASE

        DJELA SHKRELI AND LESH SHKRELI, residing at 1124 E Main St Flushing, MI
 48433, the lesser, and MUKADEZ KADIU, residing at 39224 Phlox Lane Westland, MI 48186,
 the Lessee, enter into this Lease subject to the following conditions:

    1. Premises. The Lessor leases to the Lessee the property located at 27545 Plymouth Road,
       Livonia, Michigan 48150.

    2. Lease Term. The Lease term shall be five (5) years at $2,000.00 per month with the first
       two months free beginning April 1, 2012. Five years of rent at $2,000.00 per month
       commencing on June 1st 2012 and ends on May 31, 2017. Five years of rent at $2,200.00
       per month beginning June 1, 2017 and ending May 31, 2022. Five years of rent at
       $2,400.00 beginning June 1, 2022 and ending May 31, 2027. This lease is a TRIPLE
       NET LEASE.

       All bills, gas, electric, etc belong to the lesser, Djela Shkrelli and Lesh Shkrelli. From the
       day the rent begins, all bills will belong to the lessee, Mukadez Kadiu.


    3. Rent:

       A. Base Rent: The Lessee shall pay the Lessor the sum of Three Hundred ($330,000.00)
          Dollars as Base Rent for the Term of the Lease.

           Monthly installments of rent in the amount of Two Thousand ($2,000.00) Dollars
           shall be due and payable in advance on the first day of each calendar month,
           beginning June 1, 2012 and ending May 31, 2017. June 1, 2017 monthly installments
           of rent in the amount of two thousand and two-hundred ($2,200.00) shall be due and
           payable in advance on the first day of each calendar month through May 31, 2022.
           June 1, 2022 monthly installments of rent in the amount of two thousand and four-
           hundred ($2,400.00) shall be due and payable in advance on the first day of each
           calendar month through May 31, 2027 .Rent for any partial month of occupancy shall
           be prorated. Rent shall be paid to the Lessor at the address shown above or any other
           place designated in writing by the Lessor.

       B. Additional Rent. This is a TRIPLE NET LEASE. The Lessee will pay all utilities,
          real estate taxes, repairs and any other charges necessary to maintain the building
          and/or its equipment and parking lot in its current condition throughout the terms of
          the Lease. Further, Lessee agrees to purchase liability fire and property damage
          insurance with Lessors, DJELA SHKRELI and LESH SHKRELI listed as additional
          named insured's on an insurance policy sufficient to cover the complete loss and/or
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  Terms of Pawent: Total payment for all assets is $60,000.00. Down payment, which will be
  made in cash/check, is $25,000.00 which will be made on March 19u1, 2012. The difference of
  $35,000.00 shall begin on June 1st, 2012 with payment for One Thousand ($1,000.00) Dollars
  per month on the 1st of each month for the following 35 months. On May 1st, 2015, the Lessee
  shall have an additional thirty (30) days until June I sr, 2015 to pay the remaining difference on
  the unpaid balance as a balloon payment.

  3.1 Payment of Purchase Price: The total purchase price shall be paid as follows:

           A. Personfll Pro_pr;rty: Pflyment for the personal property ~hall be made beginning June
           1st, 2012 and ea0h sucr.,essive month thereafter until thirty-five (3 5) monthly payments
           have been made in the amount of One-thousand ($1,000.00) Dollars for a total payment
           inclusive of any and F.Jll interests of$35,000 00 Dollar,. On May 1st, 2015 the Lessee
           shall have thirty (30) rluys to pay the remaining difference owed as a balloon payment.
           After all the assets nre paid off for the amount of $35,000.00, all the assets will now
           belong to MUKADEZ KADIU. Until then, the assets belong to DJELA SHKRELI AND
           LESH S.HKRU,\,



 3.2 Sec~_rity_,A_g,r.~r.msnJr As security for the paymrnt of the Note, Purchasers shall execute a
 Security Agreement, attached as Schedule 3.2, granting n security interest to Seller in the assets
 described in this Agreement.

 3.3 Default: If Purchasers defaults in any obligations (i.e., Note), such default shall constitute a
 default on any other obligation, regardless of the identity of the other obligation, regardless of
 the identity of the other Purchaser, and any rights of acceleration shall apply to each obligation.

 Signs. All signs placed on the Premises shall be subject to the prior written approval of the
 Lesser.

 Acceptance of Occup,ancy. The Lessee shall commence cccupancy of the Premises on the
 commencement dme anc, begin paying rent as required by this Lease. The Lessee acknowledges
 that the Premises are in st state of repair that is acceptable for the Lessee's intended use of the
 Premises. The Lessee a--:Gepts the Premises ns they are.

 Legal Costs. All legal costs, including attorney fees, shall be paid by Purchaser in case of a
 default of any of the provi1-:ion:1, by the Purchaser.

 Use. The Premises ar,,:   ,:(Jbe used and occupied by the Les:;ee only for a ConyY Island Restaurant.
 No use activit:1 s~1nll hr \',:llldw:terl on th1., Premi~(~S !hat does not comp!)' with );Ill state and local
 laws. The Lessee
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               damage of the building as well as its contents and shall give Lessor thirty (30) days advance
               notice prior to changing insurance companies and/or policies.

      4. Lease Year. Lease Year shall mean the period each year commencing June 1st, 2012 and ending
         May 31s t, 2027.



  1.1 Exclusion: Except as otherwise provided, this agreement contemplates the pmchase and sale,
  inclusive of assignments, of the purchased assets and specifically excludes Sellers (a) cash, (b) liens and
  encumbrances, if any on such assets, (c) liabilities, (d) taxes, and (e) assets not specifically or by
  inference included in the attached Exhibits (the "exducled assets''). Also, except as otherwise provided,
  Purchaser, is not required but may offer employment to any existing employee of Seller, on such terms as
  approved by th(; Purchaser.



  2. Purchase Price: The purchase price for the assets shall be $35,000.00 allocated as follows:

  2.1 PersonalJ~l:QJlf!:1.Yl

      A. All furniture, trade fixtures, equipment,
         and miscellaneous office and supply items
         including the items described in
         Schedule 1.1 (A)
      B. Customer list and all files, records and
         other Tangible assets of or pe1taining
         to the Sellers Business
      C. Good will of'the business as a
         going concern, telephone numbers,
         listings, and I ight to use of the
         Company's name


      5. Option to huy. The Lesser, MUDADEZ KAHIU, after the three (3) consecutive 5-year terms,
         will have the option of buying the Premises located on 27545 Plymouth Road, Livonia, Michigan
         48150. The lesser will have a chance to make the first offer to pmchase the premises. If the lessee
         will decide to sell the property, the lesser will have the first right to make an offer of the
         Premises. If the Le:,see cannot make the payments, and the Lessee wants to end the rent and
         return the business to !he lesser, this should be agreenble between the Lessee and Lesser. The
         lesser wili allow the lessee to end the rent if the lessee cannot make the payments due to business
         being bad, or other major reasons. If the lessee has paid off all the assets, and the lessee decides to
         terminate the lease, the lesser can decide to buy back all the assets paid off if he finds it valuable
         to buy them back and the assets arc in good condition, and both sides decide on terms such as
         price of assets that are being bought back by the leBser from the lessee.
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          shall not commence the agreed-upon use until the Lessee shall have
          obtained all necessary licenses and permits as required by law.

   9.     Maintenance. Lessee shall be responsible to maintain the interior and
          exterior of the Premises) including H.V,A.C. systems, the roof and four outer
          walls) and the grounds surrounding the Premises.            Lessee shall be
          responsible for regular exterior maintenance such as lawn care and snow
          removal.

   10.    Utilities.   Lessee shall be responsible for all utilities, including water.

   11.    Insurance.        Lessor shall maintain and keep in full force and effect
          insurnnce for fire and special extended coverages, satisfactory to Lessor in
          its sole discretion. Lessor shall maintain and keep in full force and effect,
          during the Lease Term, general liability insurance including blanket
          contractual coverage in the amount of at lease $1,000,000.00 per
          occurrence and $1,000,000.00 general aggregate. The cost of the insurance
          shall be payable by the Lessee within thirty clays of Lessors written notice
          to Lessee. Lessee shall have the opportunity to review all of the Lessor's
          policies and records pertaining thereto during regular business hours. At
          all times during the Lease Term, Lessee shall carry and maintain, at
          Lessee's expense, fire and extended coverage insurance covering all
          leasehold improvements on the Premises and all of Lessee's equipment,
          trade fixtures, appliances, furniture, furnishings and personal property
          from time to time in, on or about the Premises. The insurance will be in an
          amount not less than the full replacement cost. If Lessee fails to provide
          any or all of the insurance required by this paragraph Lessor may (but will
          not be required to) procure or review such insurance and any such amounts
          paid by the Lessor for such insurance will be additional rent due and
          payable on or before the next rent payment elate.

   12.    Surrender of the Premises. The Lessee shall surrender the Premises to
          the Lessor when this Lease expires, in the same condition as on the
          commencement date, except for normal wear and tear.

   13.    Entry and Inspection. The Lessee shall permit the Lessor or the Lessor's
          agents to enter the Premises at reasonable times and with reasonable
          notice, to inspect and repair the Premises, During the ninety (90) days
          before the Lease expires, the Lessee shall permit the Lessor to place
          standard "For Lease)) signs on the Premises and permit persons desiring to
          lease the Premises to inspect the Premises.

    14.   Taxes and Assessments.       Lessee shall be responsible for all real estate
          taxes, including special assessments, levied with respect to the property.
          Real Estate Taxes shall be payable in a lump sum within thirty (30) clays of


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        receipt of notice to pay the same. In the final year of tenancy, the taxes,
        which are paid in advance, shall be pro-rated between the Lessor and the
        Lessee on a monthly basis, as if paid in advance on a due date basis.
        Lessor shall maintain accurate books and records concerning all taxes and
        Lessee shall have the right to review those books and records to determine
        the method and accuracy of computing tax assessments during regular
        business hours.

  15.   Use.     Lessee shall not cause nor permit any hazardous substance to be
        used, stored, generated or disposed of on or in the property whether by
        Lessee, Lessee's agents, employee, contractors or invitees; and Lessee
        agrees to indemnify and hold harmless the Lessor from all claims, damages,
        fines, judgments, penalties, costs, liabilities, or losses (including without
        limitation a decrease in value of the Premises, damages due to loss or
        restriction of rental or usable space, or any damages clue to adverse impact
        on the marketing of the space, and all sums paid for settlement of claims,
        attorneys' fees, consulting and expert fees arising during and after the Lease
        Term and/ or arising as a result of such contamination by Lessee.
        Lessee shall maintain and use the Premises only in according with all
        federal, state, and local laws.

  16.   Assignment and Subletting.         The Lessee may not assign, sublet, or
        otherwise transfer or convey its interest or any portion of its interest in the
        Premises without written consent from the Lessor. Lessor's consent to
        assignment shall not be unreasonably withheld. Assignment shall not
        release Lessee from the obligations under the Lease.

  17.   Trade Fixtures. All trade fixtures and movable equipment installed by the
        Lessee in connection with the business it conducts on the Premises shall
        remain the property of the Lessee and shall be removed when this lease
        expires. The Lessee shall repair any damage caused by the removal of such
        fixtures.

  18.   The Lessee's Liability. All the Lessee's personal property, including trade
        fixtures, on the Premises shall be kept at the Lessee's sole risk, and the
        Lessor shall not be responsible for any loss of business or other loss or
        damage.

  19.   Damaged by Fire or Other Casualty. It is understood and agreed that if
        the Premises are damaged or destroyed in whole or in part by fire or other
        insured casualty during the Lease Term, the Lessor will repair and restore
        the same to good Lesseeable condition with reasonable dispatch. The rent
        and other charges which are the obligation of the Lessee under this Lease
        will not abate for the period the Premises are unleaseable. In this regard,
        Lessee shall obtain appropriate business interruption insurance to cover


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         such payments. In no event shall the Lessor be required to repair or
         replace Lessee's merchandise.

  20.    Indemnification. The Lessee will indemnify and defend the Lessor against
         all claims for bodily injury or property damage relating to the Premises. The
         claims covered by this Indemnification include all claims for bodily injury
         or property damage relating to (a) the condition of the Premises; (b) the use
         or misuse of the Premises by the Lessee or its agents, contractors or
         invitees; or (c) any event on the Premises, whatever the cause. Lessee's
         indemnification does not extend to liability for damages resulting from the
         sole, gross negligence of Lessor or from the Lessor's intentional misconduct.

   21.   Limitation on Lessor's Liability. The Lessor, as defined in this Lease,
         included successors-in-interest. The term is intended to refer to the owner
         of the Premises at the time in question. If the Premises are sold, the new
         owner will automatically be substituted as the Lessor.

         If the Lessor fails to perform this Lease and, as a result, the Lessee recovers
         a money judgment against the Lessor, the judgment will be satisfied out of
         the execution and sale of the Lessor's interest in the Premises, or by
         garnishment against the rents or other income from the Premises. Lessor
         shall not be liable for any deficiency. This section constitutes Lessee's sole
         and exclusive remedy for breach.

         Conditioned solely on the sale of the Premises, Lessee agrees to the
         following release in favor of its then former Lessor. Effective on the first
         anniversary of the date on which the Lessee is given notice of the sale, the
         Lessee releases its former Lessor from all claims, except those expressly
         preserved in this section. This release is intended to be broadly construed
         for the benefit of the former Lessor and includes (a) all claims regarding the
         performance of this Lease; (b) and claims for bodily injury or property
         damage relating to the Premises; and (c) all claims in any other way relating
         to the Lease, the Premises, or the Lessor-Lessee relationship. However, this
         release does not extend to any claim filed in a court of appropriate
         jurisdiction within one ( 1) year of the date of sale or to any claim for bodily
         injury or property damages resulting from the former Lessor's gross
         negligence.

   22.   Mutual Releases. The Lessor and the Lessee, and all parties claiming
         under them, release each other from all claims and liabilities arising from
         or caused by any hazards covered by insurance on the leased Premises or
         covered by insurance in connection with property or activities on the
         Premises, regardless of the cause of the damage or loss. The Lessor and the
         Lessee shall each include appropriate clauses waiving subrogation against
         the other party, consistent with the mutual release in this provision, i their


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        insurance policies on the premises.

  23.   Indemnification. If any part of the Premises is taken for any public or
        quasi-public purpose pursuant to any power of eminent domain, or by
        private sale in lieu of eminent domain, either the Lessor or the Lessee may
        terminate this Lease, effective the date the public authority takes
        possession. All damages for the condemnation of the Premises, or damages
        awarded because of the taking, shall be payable to the Lessor except any
        specific award for Lessee's loss of business.

  24.   Default and Re-entry. If the Lessee fails to pay rent when due; if the
        Lessee habitually breaches the economic terms of this Lease (meaning
        Lessee's failure to pay Base Rent or Additional Rent within seven (7) days
        of the due date on three (3) or more occasions during any twelve (12) month
        period); if the Lessee allows an uncured breach, including those regarding
        payment, to continue for a period of one (1) month following a demand for
        cure by the Lessor; or if the Lessee fails to perform any other obligations
        under this agreement within thirty (30) days after receiving written notice
        of the default from the Lessor; if the lessee makes any assignment for the
        benefit of creditors or a receiver is appointed for the Lessee or its property;
        or if any proceedings are instituted by or against the Lessee for bankruptcy
        or under any insolvency laws, the Lessor may terminate this Lease, reenter
        the Premises, and seek to re-let the Premises on whatever terms the Lessor
        thinks advisable. Notwithstanding reentry by the Lessor, the Lessee shall
        continue to be liable to the Lessor rent owed under this Lease and for any
        rent deficiency that results from re-letting the Premises during the Lease
        Term. Written notice of default shall not be required if the default involves
        the payment of Base Rent or Additional Rent.

        In addition to the Lessor's other rights and remedies as stated in this Lease,
        and without waiving any of those rights, if th lessor deems necessary any
        repairs that the Lessee is required to make or if the Lessee defaults in the
        performance of any of its obligations under this Lease, the Lessor may make
        repairs or cure defaults and shall not be responsible to the Lessee for any
        loss or damage that is caused by that action. The Lessee shall immediately
        pay to the Lessor, on demand, the Lessor's costs for curing any defaults, as
        additional rent under this Lease.

        If the Lessor terminates this Lease, the Lessor is entitled to evict the Lessee
        and to recover all damages as a result of any breach. It is within the
        contemplation of the parties that such damages may include (a) the
        difference between the contract rent and rent obtained rent for the
        remainder for the Lease Term; (b) the estimated costs of restoring the
        Premises to their original condition; (c) any commissions paid to re-lease the
        Premises; and (d) reasonable attorney fees incurred by the lessor. Lessor


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         may also evict Lessee without terminating this Lease, Lessee waives any
         right to possession of the Premises after eviction, Despite eviction, Lessee
         remains obligated for the payment of Base Rent and Additional Rent
         through the remainder of the lease Term. Nothing contained in this
         paragraph shall release the Lessor, however, the Lessor's duty to mitigate
         damages, Lessor and Lessee knowingly and voluntarily waive a trial by jury
         in any action to enforce this Lease or that is anyway related to the Lease,
         the Premises, or the relationship between Lessor and Lessee. Lessor and
         Lessee are entering into this Lease as part of an overall transaction
         whereby the Lessor as Seller and the Lessee as Purchaser have sold and
         purchased, respectively, a certain Coney Island business carried on in
         the demised Premises. Accordingly, it is agreed between the parties
         to this Lease that a default in the payment terms of any executory
         provisions (including the terms of any promissory note) of the contract
         of sale of the Coney Island Restaurant business is a default in the
         Lease, and a default in this Lease is likewise a default in the terms of
         any executory provisions (including the terms of any promissory note)
         entered into by the parties with respect to the sale and purchase of the
         Coney Island Restaurant business. This Lease and the Sale and
         Purchase Agreement, including its Promissory Note, are therefore
         cross-collateralized.

   25.   Subordination, This Lease and the Lessee's rights under it shall at all
         times be subordinate of the lien of any mortgage the Lessor now has or later
         places on the Premises or to any collateral assignment the Lessor makes of
         this Lease or of rent under this Lease; provided, however, that the
         mortgagee recognizes Lessee's prior rights under the Lease unless Lessee
         itself is then in default. At the request of any lienholder, the Lessee shall
         provide the Lessor with a customary Lessee's estoppel letter regarding the
         status of this Lease. If the Lessor defaults on the payment of its mortgage
         on the Premises, the Lessee may make the monthly payment owed under
         the mortgage note, and deduct that amount from the rent owed under this
         Lease,

   26.   Right of First Refusal.        In the event that, during the Lease Term,
         including Option Periods, the Lessor obtains a bonafide Offer to Purchase
         the subject property, which Lessor desires to accept, the Lessee shall have
         the Right of First Refusal to purchase the Premises on the same terms and
         conditions as the bonafide Offer, Lessor shall notify Lessee of the receipt
         of the Offer, attaching to the Notice of Offer a copy of the Offer. Lessee shall
         have ten (10) days from the date that the Lessor placed the Notice of Offer
         in the U.S. Mail, properly addressed to Lessee's last known address, within
         which to accept the Offer, Lessee's Acceptance shall be in writing,
         unconditional, and delivered to the lessor, within such 10-day period, at
         Lessor's address as specified above or at any subsequent address of which
          Lessor notifies Lessee. Lessee's Acceptance shall be accompanied by cash

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        or certified funds in the amount of the down-payment required by the O(fer.

  27.   Notices. Any notices required under this Lease shall be in writing and
        served in person or sent by regular mail to the addresses of the parties
        stated in this Lease or to such other addresses as the parties substitute by
        written notice. Notices shall be effective on the date of the first attempted
        delivery.

  28.   The Lessee's Possession and Enjoyment. As long as the Lessee pays the
        rent as specified in this Lease and performs all its obligations under this
        Lease, the Lessee may peacefully and quietly hold and enjoy the Premises
        for the Lease Term.

  29.   Late Fee. All payments of rent received by the Lessor more than seven (7)
        days after the first of the month shall be subject to a late penalty fee of five
        (5%) percent of the installment then due. Thereafter, all rent past due shall
        accrue interest at the rate of seven (7°/ci) percent, simple annual, until paid
        in full. Payment of real estate taxes, insurance, utilities and other charges
        allowed under this Lease shall be treated the same as payment of rent, but
        such payment shall be due to the Lessor, and late fees shall not be incurred
        until, thirty (30) days after being billed to the Lessee.                     ·

  30.   Holding Over. If the Lessee does not vacate the Premises at the end of the
        Lease Term, the holding over shall constitute a month-to-month tenancy.
        Rent for the holdover period shall increase to 125% of the rent prior to
        holdover.
                                                                                      '
  31.   Entire Agreement. This Agreement, together with the Security and Option
        Agreement and Rider attached hereto (Restaurant Use Rules), and the Sa,le
        and Purchase documents dated even herewith and incorporated by
        reference, entered into between the Lessor and the Lessee, contain the
        entire agreement of the parties with respect to its subject matter. This
        Agreement may not be modified except by a written document signed by the
        parties.

  32.   Waiver.     The failure of the Lessor to enforce any condition of this Lease
        shall not be a waiver of its right to enforce any condition of this Lease. No
        provisions of this Lease shall be deemed to have been waived unless the
        waiver is in writing.

  33.   Binding Effect, This agreement shall bind and benefit the parties and their
        successors and permitted assigns.

  34.   Time is the Essence.        Time is the essence in the performance of this
        Lease.

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  35.     Effective Date.         This Lease shall be effective J\.Jr,.I( l\!',        }<.)i   l

  36.     Alteration.    The parties agree that no alterations, additions or
          improvements to the Premises with be made without the prior written
          consent of the Lessor.

  37.     Liens. The Lessee will keep the Premises free of all liens of any sort, and
          will hold the Lessor harmless from any liens which may be placed on the
          Premises, except those which are attributable to acts of the Lessor. This
          Lease and the attachments thereto set forth all of the covenants,
          agreements, stipulations, promises, conditions and understandings between
          the Lessor and Lessee concerning the Premises and there are not other
          such 1 whether oral or written, between them other than is set forth herein.

  38.     Governing Law. The Laws of the State of Michigan will control in the
          construction and enforcement of this Lease and any dispute resolution will
          take place in Wayne County, Michigan.

  39.     Remedies. In the event that a breach of this Lease by either party results
          in an award of damages, the prevailing party shall be entitled to costs and
          actual attorney fees.

  40.     Option to Renew.         Lessee shall have three(3) consecutive five (5) year
          options to renew this Lease, each separately exercised, upon all of the terms
          and conditions of the original Lease, rent excepted. Rent for each option
          term shall be determined by agreement of the parties; provided, however,
          that rent shall not exceed the product obtained by multiplying the rent paid
          for the expiring term by a fraction, the numerator of which is the CPI-U 1 for
          the last month of the expiring term and the denominator of which is the
          CPI-U for the first month of the expiring term. The purpose of the multiplier
          is to increase (but not decrease) rent for the Option Terms by the percentage
          increase in the CPI-U experienced since the first month of the previous
          term.



   The consumer price index to be used in this formula is the Consumer Price Index for All Urban
   Consumers, All Items, All Cities, issued by the U.S. Department of Labor, Bureau of Labor
   Statistics ( 1982-1984- l 00). If the consumer price index is converted to a different standard
   reference base or otherwise revised, the formula for rent escalation shall take into account the
   conversion factor published by the U.S. Department of Labor, Bureau of Labor Statistics; Prentice-
   Hall, Inc.; or another nationally recognized publisher of similar statistical information, in that order.
   If the consumer price index ceases to be published, the Landlord and the Tenant shall agree on
   another index to use in the formula.

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          IN WITNESS WHEREOF, we have hereunto set our hands this   _Lg_ day
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                          Wttness


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                          Witness           LESH SHKRELI




                                            LESSEE




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            RIDER TO LEASE BETWEEN DJELA SHKRELI and LESH SHKRELI, AS
            LEssoRs. AND MuKAnEi .½AD:rv                _, As LESSEE,_,_
                           D~ED                                    ~IZ

                                RESTAURANT USE RULES
       1.      If any license or permit is required for the proper and lawful conduct of the
               Designated Use or if a failure to procure such a license or permit might, in
               any way, affect Lessor or the Property, Lessee, at Lessee's expense, must
               duly procure and maintain the license or permit. Lessee, at Lessee's
               expense, must at all times comply with the requirements of each license
               and permit.

       2.      Lessee must conduct its business in a high class and reputable manner.
               Lessee must keep the Premises well lighted during all hours of operation for
               the Restaurant.

       3.      Lessee must promptly comply with all laws, ordinances, lawful orders, and
               regulations affecting the Premises and the cleanliness, safety, occupancy,
               and use of the Premises.

       4.      No auction, liquidation, going out of business, fire, or bankruptcy sales will
               be conducted on the Premises.

       5.      On written notice from Lessor, Lessee must immediately cease displaying
               merchandise or advertising that Lessor finds objectionable.

       6.      Lessee must keep the Premises and their windows and signs orderly, neat,
               safe, clean, and free from rubbish and dirt at all times and must store all
               trash and garbage within the Premises. Lessee will not burn any trash or
               garbage at any time in or about the Premises,

       7.      No merchandise or other obstruction will be placed or permitted on the
               walks adjoining the Premises.

       8.      Lessee will store and stock on the Premises only goods, wares, and
               merchandise that Lessee intends to offer for sale on the Premises.

       9.      Lessee must:

               a.     maintain, service, and repair the ventilating and exhaust system
                      serving the Premises and make all replacements to it during the
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                     Term, including the installation of charcoal filters and, in furtherance
                     and not in limitation of the above, maintain the ventilating exhaust
                     system and any ducts connecting to it, to Lessor's satis"faction and in
                     a manner that does not to interfere with the ventilating system of the
                     Premises;

               b.    keep the drain, waste, and sewer pipes and connections with water
                     mains servicing the Premises free from obstruction and maintain, on
                     a monthly basis, grease traps and filters in the main soil line of the
                     Premises;

               c.    operate Lessee's business from the Premises in a clean and sanitary
                     manner to prevent infestation by vermin, roaches, or rodents and
                     have contractors designated or approved by Lessor throughly
                     exterminate against infestation by vermin and roaches all portions of
                     the Premises used for the storage, preparation, service, or
                     consumption of food or beverages on a weekly basis and whenever
                     there is evidence of any infestation, by and in accordance with the
                     Rules; and

               d.    store all refuse and rubbish on the Premises in sealed metal or water-
                     tight rubber or plastic containers and removed from the Premises
                     each day that the Premises are open for business.


         10.   Lessee must not permit the use of the Premises for (a) the sale or use of
               alcoholic beverages; (b) entertainment of any nature; (c) dancing; or (d) coin-
               operated games.

         11.   Lessee will not use or permit any person to use the Premises in any manner
               that violates or would create liability under federal, state, or local laws,
               ordinances, rules, regulations, or policies. Lessee will not (either with or
               without negligence) cause or permit the escape, disposal, or release of any
               biologically or chemically active or other hazardous substances or materials,
               Lessee must not allow the storage or use of such substances or materials
               in any manner not sanctioned by law or by the highest standards prevailing
               in the industry for the storage and use of such substances or materials or
               allow to be brought into the Premises any such materials or substances
               except to use in the ordinary course of Lessee's business, and then only
               after written notice is given to Lessor of the identity of the substances or
               materials. Without limitation, hazardous substances and materials include
               those described in the Comprehensive Environmental Response,
               Compensation, and Liability Act of 1980, 42 USC 9601 et seq.; the Resource

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           Conservation and Recovery Act of 1990, 42 USC 6901 et seq.; any
          applicable state or local law; and the regulations adopted under these acts.
          In addition, Lessee must execute affidavits, representations; and the like
          from time to time at Lessor's request concerning Lessee's best knowledge
          and belief regarding the presence of hazardous substances or materials on
          the Premises. In all events, Lessee will indemnify Lessor in the manner
          elsewhere provided in this Lease against any liability resulting from any
          release of hazardous substances or materials in the Premises while Lessee
          is in possession or caused by Lessee or persons acting under Lessee.

   12.     Lessee will not do or permit to be done any act that will invalidate or be in
           conflict with any insurance policy carried by or for the benefit of Lessor with
          respect to the Premises or that might subject Lessor to any liability; nor
          may Lessee keep anything on the Premises, except as permitted by the fire
          department, board of fire underwriters, or other authority having
          jurisdiction, and then only in a manner that does not increase the
          insurance rate for the Premises, or use the Premises in a manner that will
          increase the insurance rate for the Premises.

          IN WITNESS WHEREOF, we have hereunto set our hands this
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                                                 LESSOR:
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                               Witness           DJELA SHKRELI



                               Witness           LESH SHKRELI




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                                                 SCH EDU L~.1,..LLAJ
                                                SCHEDULE OF ASSETS
      •   22 Chairs
      •   6 Corner Stools
      •   7 Shelves
     •    11 Booths
     •    6 Tables
     •    1 Television
     •    2-Two door stand up refrigerator
     •    1 Heater lamp
     •    Preparation table (stainless steel)
     •    1 Steam table
     •    1- 8 Ft. Pizza refrigerator
     •    6 Burner Ovens
     •    1 Charcoal boilers (24 inches)
     •    1- 4 Ft. Grill kitchen
     •    1 -2 Ft. Grill Kitchen
     •    2 Deep fryer,
     •    2 Door freezer
     •    Ice machine
     •    Work-in counter
     •    Dish Washer
     •    20 Ft. Hood
     •    Hand sink kitchen
     •    Fire equipment
     •    9 lights




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